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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                        CIVIL MINUTES - TRIAL

 Case No.         CV 16-6073-TJH(MRWx)                                                                  Date      MAY 10, 2018
 Title:           HELIENE TCHAYOU, ET AL., v. CITY OF LOS ANGELES, ET AL.,

 Present: The Honorable              TERRY J. HATTER, JR., UNITED STATES DISTRICT COURT JUDGE PRESIDING
                        Yolanda Skipper                                                       Sheri Kleeger/Deborah Gackle
                          Deputy Clerk                                                     Court Reporter/Recorder, Tape No.


                Attorneys Present for Plaintiff(s):                                          Attorneys Present for Defendants:
             Joshua Piovia-Scott/ Dan Stormer                                           Christian R. Bojorquez/ Matthew P. Mattis
            Emmanuel Nsahlai /Shaleen Shanbhag                                           James R. Touchtone/ Elizabeth Mitchell

                                                  8th (held and
                             Day Court Trial      CONCLUDED)                        Day Jury Trial
      Bailiff(s) sworn.                               Jury retires to deliberate.                         X     Jury resumes deliberations.
      Jury Verdict in favor of                        plaintiff(s) is read and filed           defendant(s) is read and filed.
      Jury polled.                                    Polling waived.
      Judgment by Court for                                                         plaintiff(s)                defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                     plaintiff(s)                defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                    is          granted.          denied.              submitted.
      Motion for mistrial by                                                  is          granted.          denied.              submitted.
      Motion for Judgment/Directed Verdict by                                 is          granted.            denied.            submitted.
 X    Settlement reached and placed on the record.
 X    Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
                  Court thanks the jurors. Settlement reached as stated on the record pending approval by the City Council in about
 X    Other:      8-10 weeks.

                                                                                                                          :        26

                                                                             Initials of Deputy Clerk     YS
cc: all parties of record




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